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Attorney for Intervenor-Defendants
SAMUEL L. KEALOHA, JR., et al.

               IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

KELI’I AKINA, et al.,                  B    Case 1:15-CV-00322-JMS-BMK
                                        .
        Plaintiffs,                     .   MOTION TO INTERVENE; DECLARATION
                                        .   OF S AMUEL L. K EALOHA , J R .,
                  v.                  C     DECLARATION OF JOSIAH L. HOOHULI;
                                        .   DECLARATION OF PATRICK L. KAHA-
STATE OF HAWAII, et al.,                .   WAIOLAA; DECLARATION OF MELVIN
                                        .   HOOMANAWANUI; DECLARATION OF
       Defendants,                      .   WALTER R. SCHOETTLE; EXHIBITS “A”
                                        .   TO “C”; MEMORANDUM IN SUPPORT OF
                                        .   MOTION
                                        .
                                      D

                           MOTION TO INTERVENE

      Come now Proposed Intervenors, SAMUEL L. KEALOHA, JR., VIRGIL E.

DAY, JOSIAH L. HOOHULI, PATRICK L. KAHAWAIOLAA and MELVIN



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HOOMANAWANUI,              through     their     undersigned   counsel,     pursuant    to

Fed.R.Civ.Proc., Rule 24(a)(2), and move to intervene in the above-captioned matter

as a matter of right, upon the grounds that said Intervenors claim an interest relating

to the property or transaction which is the subject of the action and are so situated that

the disposition of the action may as a practical matter impair or impede their ability

to protect that interest, and that their interest is not adequately represented by existing

parties, as is more fully set forth in the attached memorandum in support of this

motion.

       Dated: Honolulu, Hawaii, September 25, 2015.


                                               /s/ Walter R. Schoettle
                                               WALTER R. SCHOETTLE,
                                               Attorney for Proposed Intervenors,
                                               SAMUEL L. KEALOHA, JR., VIRGIL E.
                                               DAY, JOSIAH L. HOOHULI, PATRICK
                                               L. KAHAWAIOLAA and MELVIN
                                               HOOMANAWANUI




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